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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 2:13-cv-14072-JEM

  FRANCESCO MANASSE, individually,

  Plaintiff,

  vs.

  MIDLAND FUNDING LLC, a foreign limited
  liability company, and MIDLAND CREDIT
  MANAGEMENT, INC., a foreign corporation,

  Defendants.
  _____________________________________/

                     STIPULATION FOR DISMISSAL WITH PREJUDICE

          Plaintiff FRANCESCO MANASSE and Defendants, pursuant to Rule 41(a)(1)(A)(ii) of

  the Federal Rules of Civil Procedure, hereby give notice of settlement and agree that Plaintiff's

  action should be dismissed with prejudice with each party to bear its own costs and attorney’s

  fees.

          WHEREFORE, the Plaintiff and Defendants respectfully request that this case be

  dismissed with prejudice.

          Respectfully submitted this 1st day of June, 2021.

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